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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA

                        CASE NO.: 2:21-cv-00340-SPC-MRM

LAURA CUEVAS, individually and
on behalf of all others similarly situated,

       Plaintiff,                                              CLASS ACTION
                                                               JURY DEMAND
v.

HEALTHCARE REVENUE RECOVERY
GROUP, LLC d/b/a Account Resolution
Services,

       Defendant.
                                                 /

                       NOTICE OF A RELATED ACTION1

       Under Local Rule 1.07(c), “lead counsel has a continuing duty to notify the

judge of a related action pending in the Middle District or elsewhere.” But for

removal cases, the parties need not identify the original state-court proceeding

in this Notice. Notwithstanding the instruction in the Uniform Case Management

Report, a Notice of Related Action must be filed in all cases in the Fort Myers

Division, even if no related action exists.

       Counsel and unrepresented parties must also inform the Court about any

related cases previously filed with any court or administrative agency. And counsel


1
 When filing via CM/ECF, use the “Notice of a Related Action” event under Civil Events-Other
Filings-Notices.
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and unrepresented parties have a continuing duty to promptly inform the Court of

any newly filed similar or successive cases by filing an Amended Notice.

      The parties certify that the above-captioned case:

              IS related to pending or closed civil or criminal case(s) previously filed
      in this Court, or any other federal or state court, or administrative agency as
      indicated below:


       X     IS NOT related to any pending or closed civil or criminal case filed
      with this Court, or any other federal or state court, or administrative agency.




                                        /s/ Christopher Legg
                                        Christopher W. Legg, Esq.
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                                        and the putative class
